U.S. CUSTOMS AND BORDER PROTECTION
Department of Homeland Security
4477 Woodson Road, Suite 200

St. Louis, MC 63134
(314) 428-2662 EXT. 207
FAX: (314) 428-2975

Date: September 17, 2010

Adrian L. Dunn Sr.
Bates County Jail

P.O, Box 60

Butler, Missouri 64730

RE: 2005 Corvette, Case 2009 4501 000082 01

Dear Mr. Dunn:

Thank you for your letter dated September 14, 2010, which I received today. I was able
(with the help of my seized property specialist) to find the case number you need when
corresponding with us (CBP) about this case. It is 2009 4501 000082 01.

Our file indicates that a notice of seizure was sent to you and that you responded with a
petition. The items seized were indicted by the U.S. Attorney's Office, therefore we
responded to your petition, through your lawyer, that your petition was denied and that you
had thirty days to respond. No further correspondence was received.

Administrative forfeiture of the vehicle was therefore continued and completed. Upon
forfeiture, the government sold the vehicle at auction.

Please feel free to have your lawyer contact me about the forfeiture of your property. If you
have questions about the validity of the seizure itself, you wilt have to contact the US
Attorney’s office or the seizing agent—I’m sure your lawyer will know how to handle that

side of the issue,

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Jayne Zakibe
Fines, Penalties & Forfeitures Officer

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